              Case 3:18-md-02843-VC Document 1172-1 Filed 09/07/23 Page 1 of 1



From: hugh holston
Date: September 6, 2023 at 9:35:27 PM PDT
To: Derek Loeser <dloeser@kellerrohrback.com>, Lesley Weaver <lweaver@bfalaw.com>,              ,
info@facebookuserprivacysettlement.com
Subject: file Motion for Continuance


please file this Motion for Continuance , and reply to my email. thank you


Case 3:18-md-02843-VC

dloeser@kellerrohrback.com

lweaver@bfalaw.com



Class Member

9-5-2023


                              UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
                                SAN FRANCISCO DIVISION
                                     Clerk of the Court

                                          Notice of Motion
                                        ________________

           Now comes class member Hugh Holston, and pursuant to The Federal Rules of
Civil                      Procedure and also Rule 231 - Motions for Continuance, Ill. Sup. Ct. R.
231,
                       and moves the court to grant continuance on Final approval
                          of settlement, on grounds that that the class
                             members were not given proper time to
                                 make objections on the matters.




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